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                                  STATEMENT OF FACTS

       On November 22, 2020, at approximately 6:33p.m., an individual later identified as Eric
Mangold (“Mangold” or “Defendant”) was arrested for unlawfully entering the restricted area
around the White House.

        The White House complex, which includes, among other things, the White House
Mansion and the White House grounds, is a restricted area in Washington, D.C. Only people
with authorized access are permitted inside the White House complex, which has both permanent
and movable security barriers surrounding it (“security barriers”). There are signs posted along
the security barriers that state “Restricted Area, Do Not Enter.”

        At the above listed date and time, United States Secret Service Uniformed Division
Officer Daniel Mullen was in full police uniform and walking towards a fixed United States
Secret Service post located at the intersection of East Executive Ave, NW and E Street, NW
within the secured and restricted area of the White House Complex. At that time, Officer Mullen
heard Officer Gerard Boykin say over the radio that there had been a penetration in security by
the defendant, later identified by a Texas driver’s license as Eric Paul Mangold on a moped
through a United States Secret Service vehicle gate located at Alexander Hamilton and 15th
Street, NW. This vehicle gate is a point of exit for the White House Complex. At the time,
Officer Boykin had just allowed an individual that was leaving the complex out of the gate and
was in the process of closing the gate. There are multiple posted signs that state: “Do not Enter.
Authorized Entry Only,” “Pass holders and Appointments only,” and “Warning: weapons
prohibited.”

        While monitoring the radio traffic, Officer Mullen witnessed the defendant on the moped
traveling at a high rate of speed turning from Alexander Hamilton southbound to East Executive
Avenue and matching the radio description, continue to travel down East Executive Ave, NW
unlawfully within the White House Complex.

        Officer Mullen gave a loud police command to the defendant to stop while continuing to
pursue the defendant who failed to stop. The defendant then proceeded to stop at a vehicle gate
located at the intersection of East Executive Ave, NW and E Street, NW inside the White House
Complex. The defendant along with several other officers drew their service-issued weapons
and gave commands to the defendant to step off of the moped, keep his hands where we could
see them, and lay on the ground before Officer Mullen detained the defendant. Officer Mullen
asked the defendant if he had any weapons. The defendant responded that he had a knife in his
jacket. The defendant had two jackets on. United States Secret Service Uniformed Officer Ryan
Morris then began a protective search and search incident to arrest of the defendant and
discovered the knife in the defendant’s left inner jacket pocket of the inner jacket and a white
plastic bag in left outside jacket pocket of the inner jacket. When asked what the bag was the
defendant stated, “It was weed.”

       A NCIC/WALES check of the defendant was requested from the U.S. Secret Service
Joint Operations Center (JOC) which came back clear with no wants/warrants. The officers also
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requested the JOC to advise if the defendant had an appointment at the White House to which the
JOC responded that the defendant did not have an appointment.

        Based on the foregoing, your affiant submits that there is probable cause to believe that
the defendant violated 18 U.S.C. § 1752(a)(1) and 22 D.C. Code § 3302(b).




                                              __________________________________________
                                              Daniel Mullen
                                              Officer, United States Secret Service
                                              Badge Number 2601


Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 23rd day of November, 2020.

                                                                     Robin M. Meriweather
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                                              __________________________________________
                                              The Honorable Robin M. Meriweather
                                              United States Magistrate Judge
